        Case 1:19-md-02878-NMG Document 543 Filed 01/24/22 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 IN RE RANBAXY GENERIC DRUG
 APPLICATION ANTITRUST LITIGATION
                                                            MDL No. 19-md-02878-NMG
 THIS DOCUMENT RELATES TO:
                                                           (Leave to file granted on 1/24/2022)
 All Actions


           REPLY MEMORANDUM IN SUPPORT OF RANBAXY’S MOTION
           TO MODIFY THE JANUARY 12, 2022 MEMORANDUM & ORDER
                  REGARDING ALLOCATION OF TRIAL TIME

       Plaintiffs’ Opposition is filled with mischaracterizations and unsubstantiated accusations.

What the Opposition conspicuously lacks, however, is a substantive response to any of the relevant

considerations regarding trial time allocation. As Ranbaxy explained at length, the complexities

of this case—and the nature of Plaintiffs’ wide-ranging fraud allegations—make it imperative that

the parties be given equal time to present their cases to the jury. That this case is a bet-the-company

litigation for Ranbaxy, with literally tens of billions of dollars on the line, only amplifies the acute

fairness concerns already at stake. The Opposition says not a word to the contrary. Modification

of the January 12 Memorandum & Order is therefore warranted.

       In their Opposition, Plaintiffs assert (for the first time) that they should be given

significantly more time to argue their case because Ranbaxy has supposedly “refus[ed] to identify

live witnesses, stipulate to undisputed facts, and drop spurious objections” to trial exhibits. Opp.

at 3. This new argument intentionally distorts the record and is meritless. Ranbaxy has in no sense

refused to engage on pretrial matters. With regard to live witnesses, Ranbaxy has repeatedly told

Plaintiffs that it will disclose its live witnesses approximately four weeks before trial. The rules

require no further disclosure, and, in any case, this issue has no bearing on the equal allocation of

trial time. As for the proposed fact stipulation, Ranbaxy and Plaintiffs have been engaged in good-
        Case 1:19-md-02878-NMG Document 543 Filed 01/24/22 Page 2 of 4




faith discussions for months. Ranbaxy sent Plaintiffs a markup of the proposed fact stipulation

several weeks ago—long before Plaintiffs filed their Opposition—and Plaintiffs have yet to

respond. With respect to the parties’ disagreements about trial exhibits, Ranbaxy and Plaintiffs

are actively conferring, and have been for months. Those discussions have yielded progress—and

to the extent either party lodges “spurious objections” at trial, the proper remedy (as the Court

explained at the most recent status conference) is to charge the time spent resolving those

objections against the losing party. The proper remedy cannot be, as a matter of fundamental

fairness, to award Plaintiffs nearly 60% of the trial time up front, simply because the parties have

not yet resolved all outstanding pretrial issues a full two-and-a-half months before trial.

       Finally, contrary to Plaintiffs’ accusation, Ranbaxy did not file a “false” Local Rule 7.1

certification. The parties met and conferred on January 6, 2022, to discuss a variety of issues,

including the allocation of trial time. Plaintiffs made clear that they would be seeking 60% of the

trial time; Ranbaxy made clear that it believed a 50-50 split was appropriate and that Ranbaxy

would oppose Plaintiffs’ motion. In other words, the parties met and conferred and failed to reach

agreement, exactly as Ranbaxy certified. Plaintiffs’ incorrect accusation is disappointing to see in

a court filing, especially where such an accusation is patently false.

                                         CONCLUSION

       Ranbaxy respectfully asks the Court to modify its January 12 Memorandum & Order and

order an equal division of trial time.




                                                  2
      Case 1:19-md-02878-NMG Document 543 Filed 01/24/22 Page 3 of 4




Dated: January 21, 2022            Respectfully submitted,

                                   /s/ Devora W. Allon
                                   Jay P. Lefkowitz, P.C. (admitted pro hac vice)
                                   Devora W. Allon, P.C. (admitted pro hac vice)
                                   Robert Allen (admitted pro hac vice)
                                   Kyla A. Jackson (admitted pro hac vice)
                                   Kevin M. Neylan, Jr. (admitted pro hac vice)
                                   Patrick J. Gallagher (admitted pro hac vice)
                                   Kirkland & Ellis LLP
                                   601 Lexington Avenue
                                   New York, NY 10022
                                   (212) 446-4800
                                   (212) 446-4900 (fax)
                                   lefkowitz@kirkland.com
                                   devora.allon@kirkland.com
                                   bob.allen@kirkland.com
                                   kyla.jackson@kirkland.com
                                   kevin.neylan@kirkland.com
                                   patrick.j.gallagher@kirkland.com

                                   Alexandra I. Russell (admitted pro hac vice)
                                   Kirkland & Ellis LLP
                                   1301 Pennsylvania Avenue, N.W.
                                   Washington, D.C. 20004
                                   (202) 389-5258
                                   (202) 389-5200 (fax)
                                   alexandra.russell@kirkland.com

                                   Counsel for Ranbaxy, Inc., and Sun
                                   Pharmaceutical Industries Ltd.




                                    3
        Case 1:19-md-02878-NMG Document 543 Filed 01/24/22 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I, Devora W. Allon, certify that, on this date, the foregoing was filed electronically via the

Court’s CM/ECF system, which will send notice of the filing to all counsel of record, and parties

may access the filing through the Court’s system.

Dated: January 21, 2022                                              /s/ Devora W. Allon

                                                                     Devora W. Allon




                                                 4
